       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Eric Lisann
       v. Elizabeth Lisann
       Record No. 0120-22-4
       Opinion rendered by Judge Chaney on
        August 8, 2023

    2. Tadashi D. Guest
       v. Commonwealth of Virginia
       Record No. 0672-22-2
       Opinion rendered by Judge Ortiz on
        August 8, 2023

    3. Jason Lamont Burford
        v. Commonwealth of Virginia
        Record No. 1275-22-4
        Opinion rendered by Judge Athey on
        August 8, 2023

    4. Virginia Alcoholic Beverage Control Authority
       v. Zero Links Markets, Inc., T/A Vinoshipper.com
       Record No. 0973-22-2
       Opinion rendered by Judge Raphael on
        August 15, 2023

    5. Navy Federal Credit Union
       v. Deloris B. Lentz
       Record No. 1115-22-2
       Opinion rendered by Judge White on
        August 15, 2023

    6. Darren Thornton, s/k/a/ Darren Lamar Thornton
       v. Commonwealth of Virginia
       Record No. 0652-22-2
       Opinion rendered by Judge Chaney on
        August 22, 2023

    7. Prasad Salunkhe, et al.
       v. Christopher Customs, LLC, et al.
       Record No. 1195-22-4
       Opinion rendered by Judge Athey on
        August 22, 2023

    8. Bryan Temple Smith
       v. Commonwealth of Virginia
       Record No. 0169-22-2
       Opinion rendered by Judge Raphael on
        September 5, 2023
9. Silfredo Castillo Canales
   v. Commonwealth of Virginia
   Record No. 0775-22-4
   Opinion rendered by Senior Judge Clements on
    September 5, 2023

10. Silfredo Castillo Canales
    v. Commonwealth of Virginia
    Record No. 1037-22-4
    Opinion rendered by Senior Judge Clements on
    September 5, 2023

11. Dilliraj Bista
    v. Commonwealth of Virginia
    Record No. 0904-21-4
    En banc opinion rendered by Judge O’Brien on
    September 12, 2023

12. John Randolph Hooper
    v. Commonwealth of Virginia
    Record No. 0752-22-1
    Opinion rendered by Judge Beales on
    September 19, 2023

13. Jeffrey Douglas Cheripka
    v. Commonwealth of Virginia
    Record No. 1153-22-2
    Opinion rendered by Senior Judge Petty on
    September 19, 2023
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Danjuan Antonio McBride
   v. Commonwealth of Virginia
   Record No. 1354-21-4
   Opinion rendered by Judge Lorish
    on October 4, 2022
   Judgment of Court of Appeals reversed and final judgment entered for
    the Commonwealth (220715)
       On October 19, 2023 the Supreme Court issued a published order in the following case,
which had been appealed from this Court

    1. Heath Nicholas Moison
       v. Commonwealth of Virginia
       Record No. 1038-21-1
       Memorandum opinion rendered by Judge Athey on August 2, 2022
       Judgment of Court of Appeals affirmed but portion of opinion deciding
        proffered testimony provided appellant with an alibi vacated
       (220536)
